                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


GOBIND SINGH, M.D., PH.D.,                  )
                                            )
        Plaintiff,                          )
                                            )         Case No. 3:17-cv-00400
v.                                          )
                                            )         Chief Judge Waverly D. Crenshaw
VANDERBILT UNIVERSITY                       )         Magistrate Judge Barbara D. Holmes
MEDICAL CENTER and                          )
VANDERBILT UNIVERSITY,                      )         JURY DEMANDED
                                            )
        Defendants.                         )


                      PLAINTIFF’S RESPONSE IN OPPOSITION TO
                         DEFENDANT’S MOTION TO DISMISS


        Plaintiff Gobind Singh, by and through counsel, files this brief regarding Defendants’

Motion to Dismiss. Dr. Singh requests that Defendants’ motion be denied. As detailed by Dr.

Singh his Objections and Declaration (Doc. No. 38-40), filed pro se, he has diligently attempted

to pursue this matter since it was filed in March 2017. However, Plaintiff’s previous counsel

failed to act diligently on his behalf or communicate with Dr. Singh, resulting in the lack of

prosecution noted by Defendants and Magistrate Judge Holmes. Dr. Singh, like the Court, was

unaware that his lead counsel, Bryan Pieper, was suspended from the practice of law in August

2017.    Dr. Singh asks that he not be punished for his previous counsel’s mistakes, and

Defendants’ motion to dismiss be denied.




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      I.      STATEMENT OF RELEVANT FACTS & PROCEDURAL HISTORY

                          A. Dr. Singh’s Employment at Vanderbilt
       Plaintiff Dr. Gobind Singh, M.D, Ph.D., began his second year of residency in

Ophthalmology at Vanderbilt University on July 1, 2014. He was accepted to Vanderbilt after

successfully completing his first year of residency in internal medicine at Highland Hospital, an

affiliate of the University of California San Francisco. According to a glowing letter of

recommendation from his supervising physician, while at Highland Hospital, he was an

“engaged” resident, “epitomiz[ing] holistic care” for his economically and socially

disadvantaged patients, and “propp[ing] up a support system that sometimes didn’t even exist,”

all while competently performing medicine “exactly as I’d want him to perform if that patient

had been my family.” (Coll. Ex. A, Letters of Recommendation, pp. 1-2.) This was just one of a

number of glowing letters of recommendation, including from his superiors at Vanderbilt. (Id. at

p. 7.) More than just form letters from former employers, these letters showed Dr. Singh’s

genuine skill and personal caring.


       While at Vanderbilt, Dr. Singh at first excelled. He received equally glowing letters from

patients, who credited him with saving the lives of their loved one and stated he was “an asset for

Vanderbilt Medical Center.” (Ex. B, Patient Letter.) At the end of his second year of residency

(his first year at Vanderbilt), he had received no disciplinary actions. He was promoted to third-

year residency in the ophthalmology program on April 6, 2015. (Ex. C, Apr. 6, 2015

Appointment Letter.)


       However, at the same time he was excelling, Dr. Singh was experiencing medical

problems. He was plagued with relentless fatigue, breathing difficulties, and trouble

concentrating. He saw an ENT for the first time on October 13, 2014, and was diagnosed with

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near-complete nasal vestibular stenosis, also known as nasal collapse, with accompanying

breathing problems. (Coll. Ex. D, Physician Notes, p. 1.) His doctor recommended surgery,

which took place on December 3, 2014. (Id.) Crucially, Defendants were well aware of Dr.

Singh’s health condition: on November 26, 2014, he was approved for medical leave December

3-6, 2014, to have his surgery. (Ex. E, Nov. 26, 2014 Email.)


       Dr. Singh also verbally informed his superiors of his health problems and surgery. In

order to continue doing his job despite his medical condition, Dr. Singh requested the reasonable

accommodations of being assigned fewer on-call shifts and allowed rest breaks between long

shifts. On December 1, 2014, Dr. Singh had a meeting with two of his superiors, Dr. Wayman

and Dr. Sternberg, where he informed them of his medical condition and upcoming surgery and

again requested these reasonable accommodations. They disbelieved Dr. Singh and rejected his

requests for accommodation out of hand, telling him that when they were residents they too had

to work long shifts, and if they were able to do it, so should he.


       Following surgery, Dr. Singh’s health problems persisted. On December 9, 2014, the day

Dr. Singh returned to work, he informed Dr. Wayman that his symptoms had not resolved and

his ENT surgeons had told him he would need a few months to recovery fully and see symptom

improvement in energy and concentration. Dr. Singh reiterated his accommodation requests.

These were again denied. Four days later, on December 16, 2014, Dr. Wayman forced Dr. Singh

to attend Vanderbilt’s Employee Assistance Program, still apparently believing that his problems

were caused by a lack of mental toughness and not “true” medical conditions. (Ex. F, Dec. 16,

2014 Email.)




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       On March 24, 2015, Dr. Singh saw an endocrinologist for his continuing symptoms, who

diagnosed him with hypothyroidism. In a September 2015 letter, the endocrinologist stated, “In

retrospect, in the months before his diagnosis, [Dr. Singh] may have suffered from decreased

energy and decreased concentration which could have interfered with job performance.” (Coll.

Ex. D, Physician Notes, p. 2.) In late April 2015, Dr. Singh shared his hypothyroidism diagnosis

with Dr. Wayman and requested another reasonable accommodation: that he be allowed to wear

extra layers of surgical attire to prevent his body from shivering (cold and chills are common

symptoms of hypothyroidism). Dr. Wayman denied this request too.


       While Defendants promoted Dr. Singh in April 2015, they began retaliating against him

in May 2015, when he was placed on probation. (Doc. No. 27-1, Feb. 25, 2016 Letter, p. 2.)

Prior to May 2015, Dr. Singh had never had a disciplinary action. The accusations against Dr.

Singh arose from incidents that predated his April 2015 promotion, raising the inference that

they were not the true reason for corrective action to be taken now. Perhaps sensing this

problem, Defendants revoked his promotion on June 30, 2015, extending Dr. Singh’s probation

through December 2015 instead. (Id.) On July 27, 2015, Dr. Singh made an official complaint

that he was being subjected to a hostile work environment. Within days, on or about July 29,

2015, he was given another disciplinary action and removed from the clinical setting. (Id.)


       On September 4, 2015, as part of the investigation of his harassment complaint, Dr. Singh

reported his health issues and requests for accommodation, all of which has been denied. This

was certainly not the first time he requested an accommodation; indeed, he was complaining

about his continued lack of accommodation. As part of the investigation, Dr. Singh was, for the

first time, given paperwork to make a formal request for accommodation, which he completed on

September 11, 2015, and again on or about October 19, 2015. He asked to be limited to working

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12-hour shifts, with a 12-hour rest period between shifts. In most workplaces, this would still be

considered a strenuous work schedule. For Defendants, it was apparently unreasonably light,

and was denied because it did not come directly from his treating physicians (which, of course, is

not a requirement of the ADA). (Doc. No. 27-2, Aug. 3, 2016 Memorandum, p. 2.) Dr. Singh

was terminated on February 25, 2016, without ever being allowed to return to his patients.


       Dr. Singh was determined to continue his work and applied for residency at New York

Medical College, where he was accepted despite the rarity of changing residencies. However,

Defendants continued to retaliate against him, refusing to release needed documents to NYMC

and sending negative performance reviews. Ultimately, due to Defendants’ statements, New

York Medical College withdrew the offer, essentially halting Dr. Singh’s medical career. This

lawsuit followed, alleging discrimination and retaliation under the Americans with Disabilities

Act, as amended; discrimination and retaliation based on race, national origin, and/or religion

under the Title VII; and defamation and tortious interference with business relations under

Tennessee common law. (Compl., Doc. No. 1, §§ IV-VI.)


                       B. Dr. Singh’s Attempts to Prosecute this Case

       Pursuant to Federal Rule of Civil Procedure 10, Plaintiff fully incorporates herein his

previously filed Objections and Declaration (Doc. No. 38-40), which detail many of the facts

relevant to this matter. Briefly, Dr. Singh states that he retained Tracey Kinslow and Bryan

Pieper to represent him in his action against Defendants. An action was filed in this Court by

Mr. Kinslow and Mr. Pieper on March 1, 2017 (see Compl., Doc. No. 1), and a case management

order was entered on May 9, 2017 (Doc. No. 10).

       Unfortunately, as Dr. Singh states in his Objections and Declaration, neither Mr. Kinslow

nor Mr. Pieper communicated with Dr. Singh with from May 9, 2017, until March 22, 2018, a

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period of more than ten months. (Singh Dec., Doc. No. 39, ¶ 4.) In the meantime, Mr. Pieper

apparently suffered health problems and was suspended from the practice of law in August

2017. 1 Neither Dr. Singh nor the Court was informed of Mr. Pieper’s suspension, though the

Court was informed of Mr. Pieper’s health problems in March 2018. (See Pl.’s Objections, Doc.

No. 38, p. 4; Pl.’s Mot. Extend Disc. Deadline, Doc. No. 18, p. 2.) According to that Motion to

Extend Discovery Deadlines, Mr. Pieper was apparently charged with handling discovery in this

matter, which he was unable to do due to his health problems and ongoing treatment, which

removed him from his office. (Id.)

        Given his attorneys’ lack of communication, Dr. Singh attempted to contact the Court

directly on eight occasions in or about August and September 2017. (Singh Dec., Doc. No. 39, ¶

5; Pl.’s Objections, Doc. No. 38, p. 3.)            He informed the Court Clerk’s Office about his

attorneys’ lack of responsiveness and his concern that he would miss upcoming Court deadlines.

(Id.) The Clerk’s Office assured Dr. Singh that his attorneys would contact him but agreed to

send him paperwork by mail regarding changing his counsel, which he never received. (Id.) And

on June 29, 2018, several days before Defendant’s Motion to Dismiss was filed, it was Dr. Singh

himself who first brought to the Court’s attention the circumstances surrounding his missed

deposition and the failure of his counsel to faithfully pursue his case. (Doc. No. 25.)

        Between March and June 2018, counsel for both parties exchanged emails and court

filings regarding discovery, including Plaintiff’s lack of responsiveness to Defendants’ discovery

requests and notices of deposition. Throughout this process, Plaintiff’s counsel failed to



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         Mr. Pieper was not issued a public reprimand and the precise reason for or length of his suspension is
unknown. According to the Order of the Tennessee Supreme Court, Mr. Pieper was one of a number of attorneys
suspended for failing to comply with the requirements of Tennessee Supreme Court Rule 21, the rule for mandatory
continuing legal education. Ex. G, In Re Rule 21, Section 7.07, No. ADM2017-00005, at *4 (Tenn. Aug. 17, 2017).


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communicate with Dr. Singh about discovery. 2 When Plaintiff’s counsel finally provided written

discovery to Dr. Singh on March 22, 2018, he gave his responses to his counsel the very next

day. (Singh Dec., Doc. No. 39, ¶ 9; Pl.’s Objections, Doc. No. 38, pp. 9-10.)                           However,

Plaintiff’s counsel failed to discuss responses with Dr. Singh further. (Id.) Dr. Singh was also

never informed by his counsel that a Notice of Deposition was sent to take his deposition on

March 30. (Doc. No. 38, p. 11.) When the deposition was rescheduled to June 29, Plaintiff’s

counsel did not inform Dr. Singh of the deposition until June 24. (Doc. No. 39, ¶ 29; Doc. No.

38, p. 18.)      While Dr. Singh attempted to attend the deposition, cancelling an important

examination to do so, multiple flights to Nashville from his home in New York City were

cancelled due to weather, and he was unable to get to Nashville in time. (Doc. No 33; Doc. No.

39, ¶¶ 34-35; Doc. No. 38, pp. 19-20.)

        Defendants, understandably frustrated by the discovery delays caused by Plaintiff’s

counsel’s failures, filed a motion to dismiss on July 3, 2018 (Doc. No. 27). Magistrate Judge

Holmes, not being aware of this background, recommended that the motion be granted. (Doc.

No. 32, 35.) After Plaintiff, proceeding pro se, explained these circumstances to the Court,

District Judge Crenshaw returned the matter to Magistrate Judge Holmes to revise the Report and

Recommendation. (Doc. No. 42.) He recommended that Magistrate Judge Holmes reconsider

the Motion to Dismiss in light of the question “whether [Dr. Singh], as opposed to his counsel,

was responsible for any willful or reckless disregard in this case” and whether the “drastic

sanction of dismissal” was appropriate. (Doc. No. 42.) Plaintiff’s undersigned counsel entered

Notices of Appearance on August 15, 2018 (Doc. No. 43-44), and immediately filed a motion



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         It is Dr. Singh’s understanding that Mr. Kinslow believed Mr. Pieper was handling discovery, and this is
the reason for Mr. Kinslow’s unresponsiveness. Whatever the reason for the lack of communication, Plaintiff was
left completely in the dark.

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seeking permission to file a brief further discussing these circumstances (Doc. No. 45). The

motion was granted.


                               C. Former Counsel’s Performance

       The District Court’s Order states, “The Objections appear to set forth, across many pages

and through recitation of many alleged failed attempts at communication by Plaintiff, a

consistent interest in advancing this action on the part of plaintiff that was possibly, at least to

some degree, foiled by the performance of his counsel. Of course, this narrative may be a self-

serving gloss, but it might not.” (Order, Doc. No. 42, p. 5.) In order to address the Court’s

concern, Dr. Singh has presented substantial evidence to the Court regarding his attempts to

directly contact the Court (see Doc. No. 25; Singh Dec., Doc. No. 39, ¶ 5; Pl.’s Objections, Doc.

No. 38, p. 3), his attempts to attend his deposition in June 2018 (see Doc. No. 25; Doc. No 33;

Singh Dec., Doc. No. 39, ¶¶ 34-35; Doc. No. 38, pp. 19-20), and his attempts to contact his

counsel during ten months of silence (see Doc. No. 39, ¶¶ 2-4.) It was Dr. Singh himself who

was the first to bring to the Court’s attention the lack of diligence on the part of his counsel, first

through his eight phone calls to the Court Clerk and, on June 29, 2018, through his first pro se

letter to the Court. (Doc. No. 25.) These efforts predate Defendant’s motion to dismiss. This

timing demonstrates that Dr. Singh’s efforts to prosecute despite counsel’s lack of diligence are

not merely self-serving assertions to avoid the instant motion, but born of his true desire to see

the case progress, even before the motion to dismiss was filed.


                                   II.     APPLICABLE LAW

                  A. Defendant’s Motion to Dismiss for Failure to Prosecute

       “The dismissal of a claim for failure to prosecute is a harsh sanction which the court

should order only in extreme situations showing a clear record of contumacious conduct by the

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plaintiff.” Carpenter v. City of Flint, 723 F.3d 700, 704 (6th Cir. 2013). It is true that a party

cannot always “avoid the consequences of the acts or omissions of [his] freely selected agent,”

his counsel. Link v. Wabash R. Co., 370 U.S. 626, 633-34 (1962). However, “[a]lthough this

principle—that generally it is not unduly unfair to punish a client for his counsel’s errors—

remains valid, ‘[the Sixth Circuit has] increasingly emphasized directly sanctioning the

delinquent lawyer rather than an innocent client.’”       Carpenter, 723 F.3d at 704 (quoting

Coleman v. Am. Red Cross, 23 F.3d 1091, 1095 (6th Cri. 1994)). In short, it is well-established

that “an innocent plaintiff should not be penalized for the conduct of an inept attorney.”

Freeland v. Amigo, 103 F.3d 1271, 1278 (6th Cir. 1997).

       The Sixth Circuit “has expressed an extreme reluctance to uphold the dismissal of a case

merely to discipline a party’s attorney.” Mulbah v. Detroit Bd. of Educ., 261 F.3d 586, 590 (6th

Cir. 2001). “Accordingly, ‘[d]ismissal is usually inappropriate where the neglect is solely the

fault of the attorney.’” Carpenter, 723 F.3d at 704 (quoting Carter v. City of Memphis, 636 F.2d

159, 161 (6th Cir. 1980)). Carter used even more pointed terms: “The dismissal of an action for

an attorney’s failure to comply is a harsh sanction which the court should order only in extreme

situations showing ‘a clear record of delay or contumacious conduct by the plaintiff.’ Absent

this showing, an order of dismissal is an abuse of discretion; the court is limited to lesser

sanctions designed to achieve compliance.”          636 F.2d at 161 (internal citation omitted)

(emphasis added).

       As this Court has already articulated, there is a four-factor test for determining when

dismissal for failure to prosecute is appropriate: “(1) whether the party’s failure is due to

willfulness, bad faith, or fault; (2) whether the adversary was prejudiced by the dismissed party’s

conduct; (3) whether the dismissed party was warned that failure to cooperate could lead



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to dismissal; and (4) whether less drastic sanctions were imposed or considered

before dismissal of the action.” Carpenter, 723 F.3d at 704.

       Here, there has not been and cannot be a showing of “a clear record of delay or

contumacious conduct by the plaintiff,” as Carter and Carpenter require. Indeed, Dr. Singh has

shown extraordinary diligence in order to keep this matter moving forward despite his counsel’s

misconduct. Additionally, less drastic sanctions can be—and already have been—implemented

to punish Plaintiff’s counsel without punishing Dr. Singh himself. These factors outweigh the

prejudice to Defendants and the fact that Plaintiff’s counsel was previously warned of the

possibility of dismissal (a warning that was not passed on to Dr. Singh). Therefore, the motion to

dismiss should be denied.

             B. Defendant’s Motion in the Alternative for Summary Judgment
       In the alternative, Defendant asks the Court to grant summary judgment in its favor. The

Court’s September 6, 2018, Order ordered Plaintiff to respond to Defendant’s Motion to Dismiss,

rather than its alternative motion for summary judgment (Doc. No. 46). In an abundance of

caution, Plaintiff has addresses Defendant’s motion for summary judgment here.             If the

Defendant’s motion to dismiss is denied, Plaintiff asks that the motion for summary judgment

also be denied or, alternatively, postponed until after discovery.


       The prosecution of this case has been hindered not by Dr. Singh, but by the misconduct

of his former counsel. Due to this, Dr. Singh has had no discovery in this matter. Therefore, the

facts needed to respond to Defendants’ alternative motion for summary judgment are unavailable

to Plaintiff, as presented in Dr. Singh’s declarations to the Court (Doc. No. 39 & 40). See Fed.

R. Civ. P. 45(d). The Sixth Circuit has held that it is reversible error to grant summary judgment

when a party has presented affidavits to the Court regarding why he does not possess the needed


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discovery and what discovery is needed. White’s Landing Fisheries v. Buchholzer, 29 F.3d 229,

231 (6th Cir. 1994). “[S]ummary judgment should not have been awarded until the plaintiffs

were allowed some opportunity for discovery. Rule 56[] of the Federal Rules of Civil Procedure

provides courts with a useful method by which meritless cases may be discharged. However, the

benefits of this rule are quickly undermined if it is employed in a manner that offends concepts

of fundamental fairness. In the instant case, we find that the grant of summary judgment, absent

any opportunity for discovery, is such a misuse.” Id.


       This is a case where fundamental fairness requires giving Dr. Singh the opportunity to

take discovery before granting a motion for summary judgment. Therefore, Plaintiff requests

that the Court deny the motion for summary judgment; alternatively, Plaintiff asks that the Court

defer the motion to allow him time to take discovery, or issue another appropriate order. Fed. R.

Civ. P. 45(d)(1)-(3).


                                      III.   ARGUMENT

 A. This Case is Like Other Cases Where the Sixth Circuit Has Found Dismissal Was an
                                   Abuse of Discretion.
       In Carpenter, Plaintiff’s counsel repeatedly failed to abide by local rules, delayed

responding to defense motions, and failed to file a motion for default or to amend the complaint

after the defendant failed to file an answer. Id. at 705. The Sixth Circuit undertook a thorough

analysis of different cases where the Court had considered whether to dismiss a case for failure

to prosecute, concluding, “Our past cases have distinguished between ‘mere dilatory conduct

involving a failure to file a specified document’ and the more egregious problem of an

‘attorney’s failure to appear on repeated occasions,’ and we repeatedly have reversed dismissals

where the misconduct fell into the former, less egregious, category.” Id.; see also id. at 706 n.3


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(reviewing cases from other circuits). The Court determined that “Carpenter’s counsel’s delayed

filings and violations of local rules fall into the less egregious category, and accordingly, these

infractions and missteps do not demonstrate a clear record of contumacious conduct warranting

dismissal with prejudice.” Id.


       The Carpenter Court discussed the Patterson case, where counsel’s more egregious

behavior was still not enough to sustain a dismissal. Id. In Patterson v. Grand Blanc, 760 F.2d

686 (6th Cir. 1985), “counsel failed to comply with procedural rules, failed to submit documents

according to court-ordered deadlines, failed to initiate any discovery, and submitted answers to

interrogatories four and a half months late.” Carpenter, 723 F.3d at 705. While the Court

condemned counsel’s actions, it found that since there was no “clear record of delay or

contumacious conduct by the plaintiff,” it was appropriate to place sanctions on the attorney

rather than on the individual plaintiff. Patterson, 760 F.2d at 689 (emphasis added). It listed a

number of “less drastic sanctions” a district court should consider, such as “(1) a reprimand by

the court, (2) a finding of contempt, or (3) a prohibition against practicing for a limited time

before the court whose order was neglected or disregarded.” Id. at 688.


       The Patterson Court found that giving the plaintiff “his day in court” was of the upmost

importance. Id. at 689. Quoting the Fifth Circuit, the Court stated, “There was no indication that

the appellant’s claim was vexatious or fictitious. The admitted delay was not so long drawn out

as to indicate a desire not to prosecute. The appellant was in no way connected with or

responsible for, his proctor’s dilatory conduct. While we do not condone that conduct [of the

attorney], we feel that the circumstances of the case are not such that the appellant should lose

his day in court.” Id. at 688 (quoting Flaksa v. Little River Marine Construction Co., 389 F.2d

885, 889 (5th Cir. 1968)) (emphasis added).

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       This case is unfortunately very like Patterson. Here, too, counsel failed to meet Court-

ordered deadlines, initiate discovery, or submit discovery responses. However, Plaintiff’s former

counsel never failed to attend a court conference or hearing, to file pleadings with the Court, or

to respond to the Court. See Mulbah, 261 F.3d at 592 (reversing dismissal where “the instant

case is easily distinguishable from the multitude of cases in which this Court upheld the

dismissal of a complaint where a plaintiff’s counsel failed to appear at hearings or court-ordered

conferences”). However, Dr. Singh himself is less culpable than the plaintiff in Patterson, or any

of the other cases discussed in Carpenter. In this case, it was Dr. Singh himself who brought his

counsel’s misconduct to the Court’s attention, even before Defendants’ motion to dismiss was

filed. Dr. Singh undertook extraordinary steps to attempt to keep his counsel “in line,” including

repeatedly communicating with the Court itself when he could not reach counsel. Dr. Singh was

diligent in answering discovery, returning written discovery responses to counsel within one day

and booking multiple flights to reach Nashville for his deposition, even though he was given

only a few days’ notice of it. It was counsel’s failure to deliver Dr. Singh’s efforts to Defendants

that resulted in the delays in this matter. Under these circumstances, it is unjust to punish Dr.

Singh for his counsel’s failures, which he “was in no way connected with or responsible for.”

Flaska, 389 F.3d at 889.


       Plaintiff’s efforts in this case far exceed any of the cases Plaintiff’s counsel can locate

where dismissal was reversed. See, e.g., Carpenter, 723 F.3d at 705 (reversing dismissal where

the Plaintiff attended case management conferences and responded to discovery in a timely

fashion); Tung-Hsiung Wu v. T.W. Wang, Inc., 420 F.3d 641 (6th Cir. 2005) (reversing dismissal

where both plaintiff and his attorney were mistakenly waiting on a stipulated order to be entered

by the Court); Mulbah v. Detroit Bd. of Educ., 261 F.3d 586 (6th Cir. 2001) (reversing dismissal


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where plaintiff responded to discovery and made court appearances); Freeland v. Amigo, 103

F.3d 1271 (6th Cir. 1997) (reversing dismissal without mentioning any direct effort by plaintiff

to engage in the case); Bishop v. Cross, 790 F.2d 38 (6th Cir. 1986) (reversing dismissal where

plaintiffs’ counsel appeared but individual plaintiffs failed to appear at voir dire); Patterson, 760

F.2s at 688-89 (reversing dismissal without mentioning any direct effort by plaintiff to engage in

the case); Carter, 636 F.2d at 161 (same); Kemp v. Robinson, 262 F. App’x 687 (6th Cir. Dec.

27, 2007) (reversing dismissal where both plaintiff and his attorney were engaged in settlement

discussions). If the efforts by these plaintiffs were enough for the Sixth Circuit to find that

dismissal was an abuse of discretion, how much more so in this case.


       The closest analogy is perhaps Tung-Hsiung Wu v. T.W. Wang, Inc., 420 F.3d 641 (6th

Cir. 2005), where the Court found that Plaintiff’s and Plaintiff’s counsel’s delay was

understandable because both parties mistakenly believed the Court was going to rule on a

stipulated order to stay proceedings.      Id. at 643.    In a situation mirroring the one here,

defendant’s attorneys “contacted the district court clerk’s office on at least eight occasions

regarding the status of the stipulated order. The court, however, never responded in one way or

the other.” Id. at 642. The Sixth Circuit found that these efforts to keep the case moving

forward showing that, “[e]ven if this reliance was unreasonable or unwarranted . . . it was not

motivated by bad faith, willfulness, or fault.” Id. at 643. Thus, dismissal was not appropriate.


       Similarly, here, Dr. Singh himself contacted the Court eight times, attempting to inform

the Court about his counsel’s lack of diligence and his desire to comply with court deadlines and

move the case forward. (Singh Dec., Doc. No. 39, ¶ 5; Pl.’s Objections, Doc. No. 38, p. 3.) The

court clerk’s office was unfortunately unresponsive, failing to send him documents he requested

regarding how to change counsel. (Id.) Nevertheless, these efforts show that Dr. Singh “was not

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motivated by bad faith, willfulness, or fault.” In fact, unlike the Plaintiff or counsel in Wu, Dr.

Singh took the extra step of filing letters to the Court in order to ensure the Court was aware of

his desire to prosecute the matter and his counsel’s shortcomings.


       On the other hand, cases where a dismissal is affirmed often show direct failures by the

individual plaintiff himself. See, e.g., Schafer v. City of Defiance Police Dep’t, 529 F.3d 731

(6th Cir. 2008) (affirming dismissal where the plaintiff himself failed to communicate with

counsel or refile his complaint as ordered by the court); but see Harmon v. CSX Transp., 110

F.3d 364 (6th Cir. 1997) (upholding dismissal where the plaintiff’s counsel failed to respond to

discovery and a motion to dismiss). That is certainly not the case here.


  B. Defendants Have Made No Showing of Prejudice to Outweigh Plaintiff’s Interest in
                               Pursuing This Matter.
       While Defendants may have suffered some prejudice by the lack of progress in this

matter, that prejudice does not outweigh the other factors. “A defendant is prejudiced by a

plaintiff’s dilatory conduct if the defendant is ‘required to waste time, money, and effort in

pursuit of cooperation which [the plaintiff] was legally obligated to provide.’” Carpenter, 723

F.3d at 707. In Carpenter, the Court noted that while the defendants made cursory assertions

that discovery delays made the case more difficult, “these assertions are unsupported by any

specific details or evidence.” Id.


       Likewise here, Defendants have presented no evidence that they have been prejudiced by

Plaintiff’s former counsel’s delays. The entirety of Defendant’s prejudice argument comprises

four sentences in Defendants’ motion. (Def.’s Mot. Dismiss, Doc. No. 29, p. 7.) These four

sentences simply assert that, due to Plaintiff’s counsel’s failure to participate in discovery,

Defendants’ defense has been “severely limited,” without giving any further details. (Id.) As the


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Carpenter Court stated, “This total lack of evidence of prejudice to Defendants weighs against

dismissal.” 723 F.3d at 707.


       The Carpenter Court also found it significant that “Defendants’ activity in this litigation

indicates that they have not expended significant time or effort defending against Carpenter’s

claims.” Id. There, defendants had filed only a few pleadings; their main complaint was that

they had expended time attempting to communicate and negotiate case management with

Plaintiff’s counsel. Id. at 707-08. Rejecting this argument, the Court cited the First Circuit:

“[E]xpense incurred in unsuccessfully attempting to communicate with [plaintiff] . . . . [is] not

unusual in the course of litigation and do[es] not rise to the level of prejudice justifying

dismissal.” Id. at 708 (quoting Crossman v. Raytheon Long Term Disability Plan, 316 F.3d 36,

39 (1st Cir. 2002)).


       Similarly here, Defendants have filed only a handful of documents, including their

Answer to the Complaint (Doc. No. 9); three Status Reports, which Plaintiff’s former counsel

cooperated to draft (Doc. No. 13, 15, 26); a motion to extend the time to file a dispositive

motion, which Plaintiff’s former counsel did not oppose (Doc. No. 19); and their motion to

dismiss (Doc. No. 27). Plaintiff’s former counsel’s failures to respond to discovery were no

doubt frustrating for Defendants, but they did not cost any time or expense, and certainly not any

more than any other communication difficulty. Rather, as in Carpenter, “there is nothing in the

record demonstrating that Defendants have wasted substantial time, money, or effort due to the

uncooperativeness of [plaintiff’s] counsel.” Id. at 708. In sum, Defendants have not and cannot

show prejudice, and certainly not enough prejudice to overcome Plaintiff’s demonstrated

interests in pursuing this action.



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       Therefore, for all these reasons, there has been no showing of “a clear record of delay or

contumacious conduct by the plaintiff.” Carter, 636 F.2d at 161. “Absent this showing, an order

of dismissal is an abuse of discretion; the court is limited to lesser sanctions designed to achieve

compliance.”    Id.   These have already been entered, by the Court’s orders allowing Mr.

Kinslow’s withdraw from the case (Order, Doc. No. 31) and sanctioning Dr. Singh’s dilatory

counsel Mr. Pieper by barring him from practice before this Court (Order, Doc. No. 41).

Therefore, the motion to dismiss for failure to prosecute should be denied.


                   C. The Facts of This Case Have Not Yet Been Explored,
                         and Dr. Singh Deserves His Day in Court.
       As Patterson, Carpenter, and a long line of cases show, one of the utmost considerations

in determining whether a case should be dismissed for failure to prosecute is whether it is just for

plaintiff to be deprived of “his day in court.” Carpenter, 723 F.3d at 704; Mulbah, 261 F.3d at

590; Patterson, 760 F.2d at 689. The Sixth Circuit has “expressed an extreme reluctance,”

Mulbah, 261 F.3d at 590, to impose the “extremely harsh” sanction of dismissal due to counsel’s

mistakes, especially where “[t]here [is] not indication that the [plaintiff’s] claim was vexatious or

fictitious.” Patterson, 760 F.2d at 688 (quoting Flaksa, 389 F.3d at 889).


   Here, Plaintiff’s claim is not vexatious or fictitious. As explained in Section I(A), above,

Plaintiff has in good faith stated a claim for discrimination based on his disability, race, national

origin, and/or religion. Defendants assert Plaintiff’s claims are untrue, as defendants so often do.

However, that is for the justice system to decide. Dr. Singh is entitled to his day in Court.


                                              Respectfully submitted,

                                              GILBERT McWHERTER
                                              SCOTT BOBBITT PLC

                                              s/ Justin S. Gilbert
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                            CERTIFICATE OF CONSULTATION

Per the Court’s Order (Doc. No. 46), on September 11, 2018, Plaintiff’s Counsel Caraline
Rickard communicated with Defense Counsel Luther Wright regarding the possibility of
Defendants’ withdrawing their Motion to Dismiss and agreeing to a revised case management
schedule. Defense Counsel reported that Defendants were unwilling to withdraw the motion or
agree to a revised case management order at this time.

                                                             s/ Caraline E. Rickard


                                 CERTIFICATE OF SERVICE

I, the undersigned, do hereby certify that a true and exact copy of this Notice of Appearance has
been mailed electronically via the Court’s electronic filing system, to all counsel of record and to
by U.S. Mail to the Plaintiff on September 17, 2018:

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